Filed 02/20/25                                       Case 25-10074                                             Doc 86

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          9
                                          UNITED STATES BANKRUPTCY COURT
        10                      EASTERN DISTRICT OF CALIFORNIA - FRESNO DIVISION
        11
                                                                  Case No. 25-10074-A-12
        12       In re:
                                                                  Chapter 12
        13
                 CAPITAL FARMS, INC.,                             D.C. No. FW-2
        14
                                                                  Date: February 12, 2025
        15                                                        Time: 9:30 a.m.
                                                                  Place: Dept. A, Courtroom 11, 5th Floor
        16                                                               United States Courthouse
                          Debtor and Debtor-in-Possession.               2500 Tulare St., Fresno, California
        17                                                        Judge: Hon. Jennifer E. Niemann

        18
                     FEBRUARY 20, 2025, WEEKLY REPORT PURSUANT TO ORDER GRANTING
        19                 MOTION FOR AUTHORITY TO USE CASH COLLATERAL
        20                                          INDEX OF EXHIBITS
        21                                        Title                                       No. pages
        22        Budget Variance Report                                                           2

        23        CBB Acct ending in 3506 Transaction List                                         2

        24

                                                             -1
Filed 02/20/25   Case 25-10074   Doc 86
Filed 02/20/25   Case 25-10074   Doc 86
Filed 02/20/25   Case 25-10074   Doc 86
Filed 02/20/25   Case 25-10074   Doc 86
